                             United States District Court
                              Middle District of Florida
                                  Orlando Division

Matthew Larosiere,
           Plaintiff,

v.

Cody Rutledge Wilson, DEFCAD, Inc.,
Defense Distributed, and Dioskouroi LLC,
           Defendants.

__________________________                          No. 6:24-cv-1629


Defense Distributed,
           Counterplaintiff /
           Third-Party Plaintiff,

v.

The Gatalog, Matthew Larosiere,
John Elik, Alexander Holladay, Peter
Celentano, Josh Kiel Stroke, John Lettman,
and MAF Corp,
             Counterdefendant / Third-Party
             Defendants.



                        Notice Regarding Mediator Selection




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       Defendant/Counterplaintiff Defense Distributed, and Defendants Cody

Rutledge Wilson, Defcad, Inc., and Dioskouroi LLC              file this notice regarding

mediator selection.

       The Court has set a mediation deadline of May 15, 2026, Doc. 58 at 2, and

ordered all parties to “confer, and then advise the Court, on the selection of a

mediator, on or before February 18, 2025.” Doc. 59. The filing parties have

completed the process of conferring about proposed mediators. The parties are

unable to agree upon a mediator.

       Defendant/Counterplaintiff Defense Distributed, and Defendants Cody

Rutledge Wilson, Defcad, Inc., and Dioskouroi LLC                proposed the following

persons as mediators:

   -   Jesse Panuccio of Boies Schiller Flexner LLP

       https://www.bsfllp.com/people/jesse-panuccio.html

   -   Kenneth F. Florek of Florek & Endres PLLC

       http://www.feiplaw.com/attorney/kenneth-f-florek/

Plaintiff and Counterdefendants proposed the following persons as mediators:

   -   Gregory P. Holder of Zinober Diana & Monteverde P.A.

       https://www.zinoberdiana.com/attorney/holder-gregory-p/

   -   Curt Truitt of Curtright C. Truitt, P.A

       https://truittlegal.com/attorneys/curt-truitt-curtright-c-truitt/

   -   Aaron S. Weiss of Carlton Fields, P.A

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      https://www.carltonfields.com/team/w/aaron-s-weiss

No suggested mediator received the agreement of all parties.

                                    Respectfully submitted,

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                                    Counsel for Defense Distributed,
                                    Cody Wilson, DEFCAD, Inc., and
                                    Dioskouroi LLC




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